
PER CURIAM.
We reverse the trial court’s post-trial dismissal of appellant’s counterclaim and appel-lee’s claim with prejudice and remand with direction to reinstate the jury verdicts, subject to the trial court’s reconsideration of appellee’s motions for remittitur and set off. In our view, the trial court was correct in admitting the testimony in question at trial; and its post-trial change of mind was in error. We are also not persuaded by appel-lee’s argument on the issue of the statute of limitations.
The cross-appeal for new trial is hereby rendered moot pursuant to our finding that the subject testimony was properly admitted.
GLICKSTEIN, KLEIN and PARIENTE, JJ., concur.
